

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-6,867-10






GEORGE ELDRIDGE, Relator


v.


DALLAS COUNTY DISTRICT CLERK







ON APPLICATION FOR A WRIT OF MANDAMUS


             CAUSE NO. Q-85-70972-TD IN THE 283rd JUDICIAL DISTRICT COURT

DALLAS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 283rd Judicial District Court of Dallas County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court. 

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of
Dallas County, is ordered to file a response with this Court by submitting the record on such habeas
corpus application or by setting out the reasons that no findings have been made since the order
designating issues was entered.  This application for leave to file a writ of mandamus will be held
in abeyance until the respondent has submitted the appropriate response.  Such response shall be
submitted within 30 days of the date of this order.


Filed: June 21, 2006

Do not publish	


